          Case 4:18-cr-06054-EFS        ECF No. 263        filed 10/16/20   PageID.3905 Page 1 of 5

                                       UNITED STATES DISTRICT COURT
                                           EASTERN DISTRICT OF WASHINGTON
                                             920 WEST RIVERSIDE AVENUE
                                                    P.O. BOX 1493
                                             SPOKANE, WASHINGTON 99210
                                                  www.waed.uscourts.gov

SEAN F. MCAVOY
CLERK OF COURT                                                                                       (509) 458-3400
                                                                                                 FAX (509) 458-3420
5E1($ *52*$1
CHIEF DEPUTY CLERK

October 16, 2020
 Mid Columbia Research LLC
 and Zain Research LLC
 c/o Sami Anwar 21140-085
 Benton County Jail
 7122 W. Okanogan Place
 Kennewick, WA 99336

RE: USA v. Mid Columbia Research LLC and Zain Research LLC
    4:18-CR-6054-EFS-2 and 4:18-CR-6054-EFS-3

Dear Mr. Anwar,

Enclosed is a filed copy of the Notice of Appeal, Docket Report, and Transcript Designation and Ordering form.
Please fill out the Transcript Designation and Ordering Form and return it to the Clerk’s Office for filing. In
addition, you must send a copy of the Transcript Designation and Ordering form to each Court Reporter you are
ordering a transcript from. The Court Reporter addresses are attached. You must contact the Court Reporter
to make financial arrangements.

Please Note:

The designation form must be completed in full including the name and date of each proceeding and the court
reporter’s name who reported the proceeding. The docket entries enclosed provide the dates of the hearings and
the court reporter’s name. “Entire transcript,” “Entire trial” or “All proceedings” is not sufficient information to
process your transcript order.

TRANSCRIPTS FILED PRIOR TO APPEAL:

If a hearing transcript has been filed prior to the appeal, you should designate the hearing date if you are
considering it to be part of the record. Also, please indicate on the transcript and designation form that
the transcript has already been filed.

Thank you for your assistance. If you have any question, please call.

Very truly yours,

81,7('67$7(6',675,&7&2857
Office of the Clerk
Appeal Deputy Clerk

Enclosures
     Case 4:18-cr-06054-EFS   ECF No. 263   filed 10/16/20   PageID.3906 Page 2 of 5

                                 COURT REPORTERS                                  Page 1

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                                COURT REPORTERS                                   Page 2

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     Case 4:18-cr-06054-EFS   ECF No. 263   filed 10/16/20   PageID.3908 Page 4 of 5

                                COURT REPORTERS                                   Page 3

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     Case 4:18-cr-06054-EFS   ECF No. 263   filed 10/16/20   PageID.3909 Page 5 of 5

                                COURT REPORTERS                                   Page 4

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